Case 2:07-md-01873-KDE-MBN Document 14471 Filed 06/22/10 Page 1 of 4
Case 2:09-cv-03616-KDE-ALC Document 10-1 Filed 04/20/09 Page 1 of 2 / 0 q Jy]

UNITED STATES DISTRICT COURT
for the

Middle District of Louisiana

Shema Lumar, et, al
Plaintiff

Vv Civil Action No, 09-cy-202

Jayco Enterprises, Inc. et, al

Defendant

Summons in a Civil Action

To: (Defendant's name and address)
The United States of America
Through the Office of the US Attorney for the
Eastern District of Louisiana
James Letten, United States Attorney
500 Poydras St., Suite 82140
New Orleans, LA 70130
Baton Rouge, LA 70808

A lawsuit has been filed against you.

Within 60 days after service of this summons on you (not counting the day you received it), you must serve

on the plaintiffan answer to the attached complaint ora motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiffs attorney, whose name and address are:

Justin 1 Woods, Gainsburgh, Benjamin, David, Maunier & Warshaucr, L.L.C. 2800 Energy Centre, 1100 Poydras St.
New Orleans, LA 70163

If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

Nick J. Lorio

Name of clerk of court

Niwot’ R. dopo

Deputy clerk"s signature

Date: _ April 20, 2009

Case 2:07-md-01873-KDE-MBN Document 14471 Filed 06/22/10 Page 2 of 4
Case 2:09-cv-03616-KDE-ALC Document 10-1 Filed 04/20/09 Page 2 of 2

(Use 60 days ifthe defendant is the United States or a United States agency, or is an officer or employee of the United States allowed 60 days by
Rule 12(a}(3).)

@ AO 440 (Rey. 04/08) Civil Summons (Page 2)

—————e—eEE——————————eeeeoe—— OOOO

Proof of Service

| declare under penalty of perjury that I served the summons and complaint in this case on
by:

(1)personally delivering a copy of each to the individual at this place,

(2)leaving a copy of each at the individual’s dwelling or usual place of abode with
who resides there and is of suitable age and discretion; or

(3)delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is

; OF
(4)returning the summons unexecuted to the court clerk on ; or
(S)other (specify
My fees are $ for travel and $ for services, for a total of $ 0.00
Date:
Server's signature
Printed name and title

Server's address
Case 2:07-md-01873-KDE-MBN Document 14471 Filed 06/22/10 Page 3 of 4

pust Clase Mail
Ostage & Fe i
U SPS es Paid

Permit No. G-19

. Justin Woods
Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C
1100 Poydras Street, Suite 2800 oT
New Orleans, Louisiana 70163

Formaldehyde 09-3616 Sherna Lumar

bole) [Hae 4; Rebelo) ie) i] Rah

) 51018) 55 ef) I agian 1) ey (0),")

& Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.

@ Print your name and address on the reverse
So that we can return the card to you.

™ Attach this card to the back of the mailpiece, :
or on the front if space permits, > — W Tee
: : D. |s delivery address different from item 1? Ye
1. Article Addressed to: If YES, enter delivery address below: 1 No

James Letten, U.S. Attorney
for the Eastern District of LA
500 Poydras Street, Suite B210

New Orleans, LA 70130 3, Service Type

1 Certified Mail 1 Express Mail
OC Registered C1 Retum Receipt for Merchandise
O Insured Mail Oc.op.

4. Restricted Delivery? (Extra Fee) OD Yes

. Article Numb:
* (enstrtoncenicoktey «2008 1830 aoa4 119? 2478

PS Form 3811, February 2004 Domestic Return Receipt 102595-02-M-1540 ;
I

Case 2:07-md-01873-KDE-MBN Document 14471

UNITED STATES PosTAL SERVICE

Justin Woods

New Orleans, Louisiana

151010) =s Box 0) 10M =a gay 9211 S=err(o),")

& Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.

Gainsburgh, Benjamin, David, M.

eunier & Warshauer, [.,
1100 Poydras Street, Suit er, L.L.C,

€ 2800
70163

Formaldehyde 09-3616 Sherna Lumar

Filed 06/22/10 Page 4 of 4

pitst-Class Mail
Ostage & F, i
US pS’ ees Paid

Permit No. G-10

this box e

fe) Haifa) tengo), he ),N eR)

@ Print your name and address on the reverse
so that we can return the card to you.
i Attach this card to the back of the mailpiece,

Sean | £

or on the front if space permits.
1. Article Addressed to:

James Letten, U.S. Attorney
for the Eastern District of LA
500 Poydras Street, Suite B210

If YES, enter delivery address below:

D. Is delivery address different from item 17 / LI Yed

OO No

New Orleans, LA 70130

3. Service Type
OC Certified Mail [1 Express Mail
O Registered C Return Receipt for Merchandise
O Insured Mal OCOD. .

4. Restricted Delivery? (Extra Fee)

D Yes

2. Articla Number
(Transfer from service label)

?008 1430 O004 1197 24748

PS Form 3811, February 2004 Domestic Retum Receipt

102595-02-M-1540 +
t
